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Department of Justice                                                                                                      Federal Bureau of Prisons

 INMATE SKILLS DEVELOPMENT PLAN                                                    Current Progress Report: 04-04-2016


                                                                                        Institution:                    YA200CITYMED FCl
                    Name:                             BODDIE, WILLIE                                                    P.O. BOX 5666
                    Register Number:                  40001-037                                                         YAZOOCITY. MS 39194
                    Security/Custody:                 MEDIUM/iN                         Telephone:                      (652) 716-1020
                    Projected Release:                /LIFE                             Fax:                            662-716-1036


Next Review Date:                      07-12-2016                            Driver's License/State:             None known / IN
Next Custody Review Date:              04.9•l.9n^e;                          FBI Number:                         673647JB6
Age/DOB/Sex:                                                                 SSN:
CiM Status:                                                                  DCDC Number:
                                       If yes, reconciled: Y                 INS Number:
                                                                             PDID Number
                                                                             Other IDs:


Release Residence:                     [POC]                                 Release Employer:                   [Name]
                                       308 NORTHERN AVENUE                                                       [Address]
                                       INDIANAPOLIS. IN 46204                Contact                             [POC]
Telephone:                             {PhoneJ                               Telephone:

Primary Emergency Contact:             Apra Arnold. Girlfriend               Secondary Emergency                 Angela Alston, Sister
                                       1437 W. 47lh St.                      Contact:                            923 S. Maple
Telephone:                             (317)328-8002                                                             Covington. IL 38019
                                                                             Telephone:                            (901)975-6124

Mentor Information:

Controlling Sentence Information:
           Offense(s)A/iolatQr Offenses                        Sentence                   Sentencing Procedure                Supervision Term

 CT. 1,T21;841(A)(1)&846                                                           3559 PLRA SENTENCE                     5 YEARS
 CONSPIRACY TO POSSESS WITH
 INTENT TO DISTRIBUTE AND TO
 DISTRIBUTE COCAINE. GTS. 7&8.
 T18;1956(A)(1 )(A)(B) & (H) CONSPIRACY
 TO COMMIT MONEY LAUNDERING,
 GTS. 12. 18 & 21. T18:1956(A)(1)(B)
 MONEY LAUNDERING.


Other Current Offenses:

  NONE


                                                                                                                    Parole Status
    Controlling           Time Senred/Jail
 Sentence Began        Credit/Inoperative Time        GCT/EGT/SGT         FSGTAWSGT/DGCT
                                                                                                   Hearing Date:            jgpT ENTERED
    12 10 1999
    12-10-1999         17YEARS4MONIHS
                         29 DAYS/399/0                    0/0/0                 0/0/0              Hearing Type:
                                                                                                   Last USPC Action:


 Detainers:

 Special Parole Term: NOT ENTERED
 Pending Charges:     None known
 CIm Status:             Y                                                   Cim Reconci ed:


       Financial Responsibility . ..           Imposed             Balance         . Case No./Court of Jurisdiction '     Assgn/Scheduie Payment

      FINE COMBINED USDC                       S5000.00            $1259.02                    1:98cr00038-002                      FINANC
                                                                                                                           RESP-PARTICIPATES
                                                                                                                            51110.00 MONTHLY


 Financial Plan                                    Ccmm Dep-6 mos:            $2971.00
 Active:                                           Commissary


           Generated: 04-04-2016 15:47:08                                                                                           ISDS Version; 1.6.2d
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Department of Justice                                                                                           Federal Bureau of Prisons
 INMATE SKILLS DEVELOPMENT PLAN                                                      PROGRESS REPORT: 04-04-2016

Financial Plan Date:      09-10-2009             Balance:               $4586.00

Payments
Commensurate:
Missed:                        [Y,Nj

Judicial Recommendations:              tN ONE / NONE / NO PRIORS.NO MED.

Special Conditions of                  i
                                       SEE J&C
Supervision:

USPO              Dwight T. Wharton. Chief                             USPO          [POC]
Sentencing: Indiana Southern Probation Office                          Relocation:   [Distnct]
                  Birch Bayh Federal Building and United States                      [Street Address/Suite)
               Courthouse                                                            [CityJ. [StateJ [Zip}
               46 East Ohio Street Room 101                            Phone/Fax:    ^hone)/[Faxj
                  Indianapolis. IN 48204
Phone/Fax:        317-229-37501317-229-3760

Subject to 18 U.S.C. 4042(B) Notification:                  Y          DNA Required:                               Y-[DateJ
• Conviction for a drug trafficking crime (federal)                    Subject to Sex Offender Notifications:      [Y.N}
                                                                       Treaty Transfer Case:                       [Y.NJ

Profile Comments:



fiDUCXfllOf
   Facility        Assignment                                       Description                                 Start Date    Stop Date

    YAM           GED EARNED                                    GED EARNED IN BOP                               12-07-2000   CURRENT


    YAM              ESL HAS                                    ENGLISH PROFICIENT                              03-01-2000   CURRENT


    YAM             F ANAL 1                             RPP3-FINANCiAL ANALYSIS 1                              02-26-2016   CURRENT


    YAM       1     ENT OPP                           RPP2 ENTREPRENEUR OPPORTUNITY                             02-26-2016   CURRENT

je6MPl:ETED:EDUCATJ0N:G0URSES?®|M||p|
 Course Description                                                                                             Completion     Course
                                                                                                                   Date'       Hours


 RPP1 AIDS AWARENESS                                                                                            01-14-2016


 BLOOD PRESSURE SELF STUDY                                                                                      12-17-2015


 MEDICAL SCREENING SELF STUDY                                                                                   12-17-2015


 WELLNESS SELF STUDY                                                                                            12-17-2015


 EXERCISE GOAL SETTING S-STUDY                                                                                  11-19-2015


 CORONARY RISK FACTORS SELF SUD                                                                                 11-19-2015


 SHU RESUME WRITING SELF STUDY                                                                                  11-19-2015

 SHU MONEY SMART SELF STUDY                                                                                     11-19-2015

 EXERCISE MOTIVATION SELF STUDY                                                                                 11-05-2015

 CARDIOVASCULAR SELF STUDY                                                                                      11-05-2015

 EXERCISE PHYSIOLOGY SELF STUDY                                                                                 11-05-2015
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